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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

   ___________________________________________

   IN RE COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                            Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                             MDL No. 2570
   ___________________________________________

   This Document Relates to the Following Actions:

   1:19-cv-02570; 1:19-cv-02582; 1:19-cv-02789; 1:19-cv-02848;
   1:19-cv-02850; 1:19-cv-02851; 1:19-cv-03012; 1:19-cv-03019;
   1:19-cv-03029; 1:19-cv-03144; 1:19-cv-03366; 1:19-cv-03369;
   1:19-cv-03372; 1:19-cv-03373; 1:19-cv-03374; 1:19-cv-03375;
   1:19-cv-03376; 1:19-cv-03386; 1:19-cv-03388; 1:19-cv-03390;
   1:19-cv-03391; 1:19-cv-03396; 1:19-cv-03403; 1:19-cv-03407;
   1:19-cv-03408; 1:19-cv-03410; 1:19-cv-03480; 1:19-cv-03499;
   1:19-cv-03685; and 1:19-cv-03805.
   ___________________________________________________

                                     MOTION TO DISMISS

          Pursuant to Federal Rule of Civil Procedure 41(b) and Third Amended Case Management

   Order No. 4, Cook Incorporated, Cook Medical LLC, formerly known as Cook Medical

   Incorporated, and William Cook Europe ApS (collectively, the “Cook Defendants”), respectfully

   request that the Court dismiss certain matters set forth herein. In support of this Motion, the

   Cook Defendants state:

          1.     Third Amended Case Management Order No. 4 (“CMO No. 4”), entered by this

   Court on March 29, 2017, provides that

          Each Plaintiff in this MDL as of the date of the entry of this Second Amended
          Case Management Order No. 4 shall submit a completed [Plaintiff Profile Sheet
          (“PPS”)] to Defendants within sixty (60) days if the Plaintiff has not already
          provided a complete Plaintiff Profile Form (“PPF”) and Plaintiff Fact Sheet
          (“PFS”) under Case Management Order No. 4 [Dkt. 354] or Amended Case
          Management No. 4 [Dkt. 614]. In cases in which Plaintiffs have not served a
          completed PPF or PFS, each Plaintiff shall submit a completed PPS to Defendants
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          within sixty (60) days of the entry of this Order and, in future filed cases, within
          thirty (30) days of the case becoming part of this MDL.

   CMO No. 4, ¶ 1(b).

          2.      CMO No. 4 further provides, “[i]f a Plaintiff does not submit a PPS within the

   time specified in CMO No. 4 and the Case Management Plan entered by the Court, Defendants

   may move to dismiss that Plaintiff’s case.” CMO No. 4, ¶ 1(g).

          3.      Before filing such a motion, counsel for the Cook Defendants shall serve written

   notice upon Plaintiffs’ Lead Counsel and counsel for the Plaintiff at issue that a PPS has not been

   served and a motion to dismiss may be filed. CMO No. 4, ¶ 1(g).

          4.      If a PPS is not submitted within five business days of such notice, the Cook

   Defendants may file the motion to dismiss. If no response to the motion to dismiss is filed

   within fifteen days, the case shall be dismissed. CMO No. 4, ¶ 1(g).

          5.      The Cook Defendants served 30 plaintiffs with notice of their failure to serve a

   PPS in compliance with CMO No. 4. Attached as Exhibit A is a list setting forth each individual

   case ripe for dismissal pursuant to CMO 4 based on the plaintiffs’ failure to comply with the

   order and produce basic factual information regarding the claims and allegations in the form of a

   PPS.1 For each case identified in Exhibit A, the Cook Defendants sent a letter to each Plaintiff’s

   individual counsel and Plaintiffs’ Lead Counsel notifying them that a PPS had not been received

   and a motion to dismiss may be filed if a PPS was not served within five days of the date of the

   letter. A true and correct copy of each of these notice letters is attached as Exhibit B.

          6.      As of the date of filing of this Motion, the Cook Defendants have not received a

   completed PPS from the Plaintiffs in the cases listed in Exhibit A.

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     Exhibit A sets forth each plaintiff’s name, civil action number, the date the PPS was due, and
   the date the notice of failure to serve a PPS letter was sent to the plaintiff’s counsel and
   Plaintiffs’ Lead Counsel.


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          7.      Accordingly, pursuant to Federal Rule of Civil Procedure 41(b) and CMO No. 4,

   the Cook Defendants respectfully request that the cases listed in Exhibit A be dismissed.

          WHEREFORE, the Cook Defendants respectfully request that the Court dismiss the

   above-captioned matters, and for all other just and appropriate relief.



   Dated: October 29, 2019

                                                     Respectfully Submitted,

                                                     /s/ Andrea Roberts Pierson
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                                                     Cook Medical LLC f/k/a Cook Medical
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 29, 2019, a copy of the foregoing Amended Motion to

   Dismiss was filed electronically, and notice of the filing of this document will be sent to all

   parties by operation of the Court’s electronic filing system to CM/ECF participants registered to

   receive service in this matter. Parties may access this filing through the Court’s system.



                                                 /s/ Andrea Roberts Pierson




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